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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

EARL PARRIS, JR., Individually,       )
and on Behalf of a Class of Persons   )
Similarly Situated,                   )
                                      )
       Plaintiff,                     )
                                      )
City of SUMMERVILLE,                  )
GEORGIA,                              )
                                      )
       Intervenor-Plaintiff,          )
                                      )
vs.                                   ) Case No.: 4:21-cv-00040-TWT
                                      )
3M COMPANY, DAIKIN                    )
AMERICA, INC., HUNTSMAN               )
INTERNATIONAL, LLC, PULCRA            )
CHEMICALS, LLC, MOUNT                 )
VERNON MILLS, INC., TOWN OF           )
TRION, GEORGIA, and RYAN              )
DEJUAN JARRETT,                       )
                                      )
       Defendants.                    )

                    DEFENDANT RYAN DEJUAN JARRETT’S
                          INITIAL DISCLOSURES

      COMES NOW, Defendant Ryan Dejuan Jarrett (“Defendant”) and pursuant

to Fed.R.Civ.P.26(a)(1) and LR 26.1A, NDGa, sets forth its Initial Disclosures,

stating the following:




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      1.     If the defendant is improperly identified, state defendant’s correct

identification and state whether defendant will accept service of an amended

summons and complaint reflecting the information furnished in this disclosure

response.

      Response: N/A

      2.     Provide the names of any parties whom defendant contends are

necessary parties to this action, but who have not been named by plaintiff. If

defendant contends that there is a question of misjoinder of parties, provide the

reasons for defendant’s contention.

      Response: Jarrett is unaware of the identities of other owners of property

where sludge from the Trion WWTP has been placed, but Plaintiff and Trion should

be able to identify them.

      3.     Provide a detailed factual basis for the defense or defenses and any

counterclaims or crossclaims asserted by defendant in the responsive pleading.

      Response: As to Jarrett’s defense of failure to join necessary parties, if the

sludge spread on his property by Trion was contaminated with PFAS which is a

source of PFAS contamination of the City of Summerville’s water supply, then, on



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information and belief, the same type of sludge was allegedly spread on other

properties in the Raccoon Creek watershed.

      As to Jarrett’s cross-claims against his co-defendants, Jarrett is an innocent

land owner who was unaware that the sludge that Trion spread on his property

contained any hazardous substance such as PFAS as alleged by Plaintiff.

      4.     Describe in detail all statutes, codes, regulations, legal principles,

standards and customs or usages, and illustrative case law which defendant contends

are applicable to this action.

      Response: Principles applicable to joinder of necessary parties pursuant to

F.R.C.P. 19; common law and statutory principles and grounds for indemnity and

contribution; statutory grounds for recovery of expenses of litigation, including

attorney’s fees. Jarrett reserves the right to supplement this response.

      5.     Provide the name and, if known, the address and telephone number of

each individual likely to have discoverable information that you may use to support

your claims or defenses, unless solely for impeachment, identifying the subjects of

the information. (Attach witness list to Initial Disclosures as Attachment A.)

      Response: Defendant Jarrett. He is aware of his lack of information regarding

any potentially hazardous substance contained in the sludge that Trion spread on his

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property. As per a 1994 letter from GAEPD to Trion’s mayor that was shared with

Ruth Jarrett, GAEPD provided approval for the addition of the Mahan Road property

now owned by Ryan Jarrett to Trion’s GAEPD-approved sludge management

program. A copy of that letter is attached hereto.

      6.     Provide the name of any person who may be used at trial to present

evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. For all

experts described in Fed.R.Civ.P. 26(a)(2)(B), provide a separate written report

satisfying the provisions of that rule. (Attach expert witness list and written reports

to Initial Disclosures as Attachment B.)

      Response: None at this time. Jarrett reserves the right to supplement this

response.

      7.     Provide a copy of, or description by category and location of, all

documents, data compilations or other electronically stored information, and

tangible things in your possession, custody, or control that you may use to support

your claims or defenses unless solely for impeachment, identifying the subjects of

the information. (Attach document list and descriptions to Initial Disclosures as

Attachment C.)

      Response: See attached 1994 letter from GAEPD as referenced above.

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       8.     In the space provided below, provide a computation of any category of

damages claimed by you. In addition, include a copy of, or describe by category and

location of, the documents or other evidentiary material, not privileged or protected

from disclosure on which such computation is based, including materials bearing on

the nature and extent of injuries suffered, making such documents or evidentiary

material available for inspection and copying under Fed.R.Civ.P. 34. (Attach any

copies and descriptions to Initial Disclosures as Attachment D.)

       Response: Other than Jarrett’s expenses of litigation, including attorney’s

fees, which are ongoing, none at this time. Jarrett reserves the right to supplement

this response.

       9.     If defendant contends that some other person or legal entity is, in whole

or in part, liable to the plaintiff or defendant in this matter, state the full name,

address, and telephone number of such person or entity and describe in detail the

basis of such liability.

       Response: See responses above.

       10.    Attach for inspection and copying as under Fed.R.Civ.P. 34 any

insurance agreement under which any person carrying on an insurance business may

be liable to satisfy part or all of a judgment which may be entered in this action or

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to indemnify or reimburse for payments to satisfy the judgment. (Attach copy of

insurance agreement to Initial Disclosures as Attachment E.)

      Response: None.


            This 23rd day of May, 2022.

                                              /s/ Craig K. Pendergrast
                                              Craig K. Pendergrast
                                              GA Bar No. 571155
                                              Daniel H. Weigel
                                              GA Bar No. 956419
                                              TAYLOR ENGLISH DUMA LLP
                                              1600 Parkwood Circle, Suite 200
                                              Atlanta, GA 30339
                                              Telephone: 770-434-6868
                                              Facsimile: 770-434-7376
                                              cpendergrast@taylorenglish.com
                                              dweigel@taylorenglish.com

                                              Counsel for Defendant
                                              Ryan Dejuan Jarrett




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 ATTACHMENT A
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                                                          Jarrett-0002
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                                                           Jarrett-0003
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

EARL PARRIS, JR., Individually,           )
and on Behalf of a Class of Persons       )
Similarly Situated,                       )
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       Plaintiff,                         )
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City of SUMMERVILLE,                      )
GEORGIA,                                  )
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       Intervenor-Plaintiff,              )
                                          )
vs.                                       ) Case No.: 4:21-cv-00040-TWT
                                          )
3M COMPANY, DAIKIN                        )
AMERICA, INC., HUNTSMAN                   )
INTERNATIONAL, LLC, PULCRA                )
CHEMICALS, LLC, MOUNT                     )
VERNON MILLS, INC., TOWN OF               )
TRION, GEORGIA, and RYAN                  )
DEJUAN JARRETT,                           )
                                          )
       Defendants.                        )



                         CERTIFICATE OF SERVICE

      I hereby certify that on this date I have served DEFENDANT RYAN

DEJUAN JARRETT’S INITIAL DISCLOSURES upon all counsel of record

via the Court’s electronic court filing and service system.



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This 23rd day of May, 2022.

                                   /s/ Craig K. Pendergrast
                                   Craig K. Pendergrast
                                   GA Bar No. 571155
                                   Daniel H. Weigel
                                   GA Bar No. 956419
                                   TAYLOR ENGLISH DUMA LLP
                                   1600 Parkwood Circle, Suite 200
                                   Atlanta, GA 30339
                                   Telephone: 770-434-6868
                                   Facsimile: 770-434-7376
                                   cpendergrast@taylorenglish.com
                                   dweigel@taylorenglish.com

                                   Counsel for Defendant
                                   Ryan Dejuan Jarrett




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